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     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                   SAN FRANCISCO DIVISION
10

11   WHATSAPP INC., a Delaware corporation,    Case No. 3:19-cv-07123-JSC
     and FACEBOOK, INC., a Delaware
12   corporation,                              CERTIFICATION OF INTERESTED
                                               ENTITIES OR PERSONS BY
13               Plaintiffs,                   DEFENDANTS NSO GROUP
                                               TECHNOLOGIES LIMITED AND Q
14         v.                                  CYBER TECHNOLOGIES LIMITED
15   NSO GROUP TECHNOLOGIES LIMITED
     and Q CYBER TECHNOLOGIES LIMITED,         Action Filed: 10/29/2019
16
                 Defendants.
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     CERTIFICATION OF INTERESTED                                  Case No. 3:19-cv-07123-JSC
     ENTITIES OR PERSONS
       Case 4:19-cv-07123-PJH Document 25 Filed 03/06/20 Page 2 of 2




 1           Pursuant to Civil Local Rule 3-15 of the United States District Court for the Northern

 2   District of California, on behalf of Defendants NSO Group Technologies Limited and Q Cyber

 3   Technologies Limited, the undersigned certifies that as of this date, other than the named parties,

 4   there is no such interest to report.

 5           By complying with Civil Local Rule 3-15, Defendants are not waiving their right to

 6   assert that they act exclusively as the agent of governmental entities and Defendants expressly

 7   reserve that right.

 8   DATED: March 6, 2020                                KING & SPALDING LLP
 9

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                                                         By: /s/Joseph N. Akrotirianakis
11                                                           JOSEPH AKROTIRIANAKIS
12                                                           AARON S. CRAIG
                                                             Attorneys for Defendants NSO GROUP
13                                                           TECHNOLOGIES LIMITED and Q
                                                             CYBER TECHNOLOGIES LIMITED
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      CERTIFICATION OF INTERESTED                    1                        Case No. 3:19-cv-07123-JSC
      ENTITIES OR PERSONS
